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 1   Susanna Librandi
     Plaintiff in Propria Persona
 2   15 Mead Farm Rd
 3
     Seymour, CT 06483
      03.494.1844
 4   Susanna411@gmail.com

 5
                               UNITED STATES DISTRICT COURT
 6                               DISTRICT OF CONNECTICUT
                                    141 Church Street, New Haven, CT 06510
 7   SUSANNA LIBRANDI
 8          PLAINTIFF

 9
      LEXION PHARMACEUTICALS, INC.
10
            DEFENDANT
11
     f-----------------''
12    COMPLAINT FOR DISCRIMINATION, RETALIATION, AND PROHIBITED ACTIONS ON

13                                     THE BASIS OF DISABILITY

14          Susanna Librandi ("plaintiff'), sues the ALEXION PHARMACEUTICALS,                     INC.

15   ("defendant") for violations of the Americans with Disabilities Act and the Americans wit
     Disabilities Amendments Act of 2008 (hereafter "ADA" and "ADA-AA", respectively), 4
16
     U.S.C. §12101, et seq., for discrimination, retaliation, and prohibited actions taken on th
17
     basis of disability under the "regarded as" and "record of' prongs in violation of th
18
      mericans with Disabilities Act of 1990 and the Americans with Disabilities Act Amendmen
19
      ct of 2008 (hereafter "ADA" and "ADA-AA", respectively), 42 U.S.C. § 12101, et seq.
20
     Plaintiff petitions for declaratory and injunctive relief under Title I of the ADA as implemente
21   under 29 CFR Part 1630, et seq.
22
                                                PARTIES
23
     1.     The plaintiff receives mail in Seymour, Connecticut at the address of 15 Mead Far
24
     Road for all times material to the facts giving rise to the complaint.

     2.     The defendant is an "employer" within the definition of 42 U.S.C. 12111(5), with it
26
     principal place of business at 121 Seaport Blvd, Boston, MA 02210 for all times material t
27
     he facts giving rise to the complaint.
28


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 1                                     JURISDICTION AND VENUE

 2   3.       This court has original and exclusive jurisdiction over the plaintiff's claims pursuant t
 3    8 U.S.C. §1331, in that the matters in controversy are brought pursuant to Title I of the AD
 4   and ADA-AA of 2008; 42 U.S.C. §12101 and 42 U.S.C. §12112(a), (b) and (d)(4) as i

 5   pertains to "discrimination"; as implemented by 29 CFR Part 1630.14(b)(3), (c) and (d) as i
     pertains to adverse employment actions, employers and medical examinations an
 6
     interventions.
 7

              Venue is proper in this judicial district under 28 U.S.C. §1391 because the defendan
 8
      oes business in this judicial district and the acts complained of took place in this judicia
 9
      istrict.
10
     5.       The plaintiff timely filed a charge of discrimination against the defendant with th
11
     Equal Opportunity Employment Commission (EEOC) on May 27, 2022. The plaintiff ha
12
      xhausted all administrative remedies and obtained her right to sue letter from the EEO
13
          ithin the ninety days preceding the date on which she commenced her original complain
14
     against the defendant. A true and correct copy of the EEOC's right to sue letter is allege
15   and included as Exhibit A.
16
     6.       The plaintiff has exhausted all administrative remedies available to her.
17
                                              BACKGROUND
18
     7.       Since 2021, the defendant adopted measures known collectively as its "Covid-1
19
     Policy", which included requirements or accommodations that employees wear surgica
20
     masks, take experimental vaccines, practice isolation and segregation, submit to medica
21
      xaminations, and disclose vital statistics as new conditions of employment.
22
     8.       The defendant admits that its "Covid-19 Policy" is intended to prevent the spread o
23
     "Covid-19", which it describes as a deadly, contagious disease. The policy rests on th
24   assumption that every employee, the plaintiff included, has or could have this disease. Tha
25   is, the policy's underlying assumption is that all of its employees are simultaneously at ris
26   and pose a risk to the health of all other employees. No provisions exist to establish throug

27   individualized assessment whether a particular employee poses any direct threat to th

28
     health of their co-workers.


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 1   9.      Likewise, no provisions have been made to authorize the policy measures either b
 2   legal duty or by statute, thus the defendant's adoption of this policy is voluntary. In the rus

 3
     o implement the policy no oversight was given to provide the policy with any lega
      nforcement mechanism. The policy thus relies upon the voluntary compliance o
 4
      mployees waiving their rights to informed consent, to medical privacy, to refus
 5
      xperimental medical treatments and to refuse non-job-related medical inquiries o
 6
     reatments. A voluntary policy is not a legitimate requirement.
 7
             One of the mitigation measures established by the defendant's "Covid-19 Policy" is
 8
      accination mandate. On the basis of compliance with this accommodation, the defendant'
 9
     policy identified three types of employees: (1) vaccinated; (2) unvaccinated but with
10   medical or religious exemption; and (3) unvaccinated with no exemption. The defendant'
11   policy treated the last group of employees (as opposed to the other employees tha
12   complied with the "Covid-19 Policy" or exempted themselves from it) either "as if" the

13   carried a specific, active, infectious disease, or "as if" they had an impaired or suppresse

14
     immune system that made them prone to contracting Covid-19.

15   11.     It should also be noted that no provisions were included to handle employees wh

16
      id not volunteer to waive their rights and who claimed exception to the defendant's "Covid
     19 Policy". The policy thus failed to acknowledge the existence of qualified individuals wh
17
     claimed their rights under disability law and therefore are not subject to the sam
18
     requirements as the rest of the employees.
19
     12.     The policy imposed mitigation measures developed by the Center for Diseas
20
     Control    and    Prevention      (CDC),      largely    recommended         for   an    "over-65,     immune
21
     compromised" population.           The defendant's "Covid 19 policy" imposed these measure
22
     upon all of its workers without considering the individualized medical assessment of eac
23    mployee's health or whether the policies were appropriate for the working population.
24
     13.     Notwithstanding the lack of enforceability, the defendant chose to adopt an
     implement its "Covid-19 Policy" through obfuscation, coercion, retaliation and interferenc
26   owards employees, such as the plaintiff, who took exception to the policy partly becaus
27   he practices were unrelated to the performance of essential job functions 1 .
     1 29 CFR 1630.2(n)(2) definition "Essential Function": "(i) .... the reason the position exists is to perform tha
      unction."

                                                                                                          Page 3 of 2 ·
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 l   14.   Medical decisions are far beyond the scope of the employer-employee relationship
 2    he policy asks representatives of employers to make repeated, non-job related medica

 3
     inquiries of employees and to impose non-job-related medical treatments on them.

 4                                    STATEMENT OF FACTS

 5   15.   The plaintiff has been an employee of Alexion Pharmaceuticals, Inc since June 16th
 6    008, and has received positive work assessment for the past ten years.

 7   16.   In July of 2021, Alexion Pharmaceuticals, Inc was acquired by AstraZeneca. On
 8   month later, the defendant began imposing a "Covid-19 Policy" which asked for documente
 9   "Covid-19 vaccine" information from all employees, despite the fact that office staff wer

10
     scheduled to work remotely until March 14th , 2022. The defendant claims its policy follow
     CDC and state authorities' guidance.
11

12   17.   In September of 2021, the plaintiff was directed to enter her "vaccine status" on
      eb portal site the company used to have employees enter their "vaccine status" or else t
13
     check one of the available "non-disclosure reasons".
14

15
     18.   At that moment, the plaintiff was not aware that she did not have to give th
      efendant non-job-related medical information. The defendant only informed her that sh
16
     could request an exemption.
17
     19.   The plaintiff made inquiries regarding the protections a "religious exemption" woul
18
      ive her against her employer's "Covid-19 Policy", which she opposed. The plaintiff i
19
     concerned about the security of her private health information since she had to send man
20
      mails outside of the supposedly "secure SmartSheet" portal being used to collect th
21
     'vaccination information", in order to get her questions answered. The plaintiff tried to ge
22    ome information from Lisa Rahilly, the Global Employment attorney, who confirmed tha
23   'religious" was a legally protected status for which the defendant would "need to provide a
24   accommodation process". Based on her advice, the plaintiff requested a "religiou

25    xemption". At that moment, the plaintiff considered that said avenue best expressed he
     reasons for opposing a policy which asked for non-job-related medical interventions an
26
     non-job-related medical information.
27

28


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 1   20.       On November 24 th , 2021, the plaintiff submitted an "Affidavit for declination of offer o

 2   medical procedures" as her written request for a "religious exemption". However, sh

 3
     received written warnings of discipline despite having filed a religious exemption.

 4   21.       On December 21st, 2021, the plaintiff received notice that in response to her reques
     or a "religious exemption" the company determined that, while she would not be required t
      et a "Covid-19 vaccine", enter her "vaccine status", use masks or "test" during this time,
 6
      he would continue to work remotely through January 21st, 2022, because without he
 7
     compliance with these mitigation measures she was considered a threat to the safety o
 8
     others.
 9
     22.       The defendant extended its imposed work-from-home requirement through Februa
10
      1st, 2022 and again until April 30 th , 2022.
11
     23.       During the months of March and April of 2022, the plaintiff was not allowed to atten
12
     earn meetings and work-related social gatherings because she was not allowed on site
13
      his isolation and segregation had a negative impact on her career advancement, since sh
14
     missed several face-to-face opportunities for meetings with my direct reports, counterpart
15   and senior leadership. The plaintiff also missed several team building opportunities.
16
     24.       On May ffh, 2022, a week after the plaintiff's "accommodation" expired, she receive
17   an unsigned notice that her employment would be terminated "for cause" on June 17th , 202
18   unless she tested regularly when she returned to work in-person on June 6th , 2022.
19
     25.       The defendant was requiring weekly "PCR" testing of employees who, as the plaintiff,
20    ere not fully vaccinated and held that granting an exemption from that measure woul
21   impose an undue hardship, without providing any facts or evidence.
22   26.       On May 9th , 2022, the defendant reinstated the mandatory in-office mas
23   requirement.
24   27.       After these events, the plaintiff understood that the "religious exemption" did
     protect her rights to refuse non-job-related medical inquiries and treatments.
26   28.       Plaintiff also realized that the "Covid-19 Policy" regarded her as an infectious threa
2l   hat needed to comply with mitigation measures in order to work around people.
28


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 l    29.    After researching the company's anti-discrimination policy, the plaintiff found that th
 2     efendant was aware of its legal duties under the ADA.

 3    30.    During April and May 2022, the plaintiff researched information about the ADA, an
 4    began to realize that she had been deceived and coerced by her employer into thinking tha

 5
      a religious or medical exemption were the only ways to opt-out of the defendant's "Covid-1
      Policy".
 6

 7    31.    The plaintiff sent the defendant a written notice that stated that she was claimin
       mployment discrimination and harassment based upon disability. She claimed that th
 8
       efendant's policy (1) regarded her as having a contagious disease without any diagnosis o
 9
      individualized assessment, and (2) made a record of such disability by mis-classifying her a
10
      having, in ADA terms, a mental or physical impairment that substantially limits one or mor
11
      major life activities.
12
      32.    The plaintiff stated that the defendant's policy was also using coercion, harassmen
13
      and retaliation to make her submit to non-job-related medical examinations an
14
      interventions.
15
      33.    The plaintiff stated that she did not waive her right to informed consent. She als
16
      claimed her employer had called her a "safety threat", as if she had an actual or potentia
17    contagious disease. The plaintiff stated that she was documenting acts of discrimination an
18    harassment of which she has been subjected to on the job.
19
      34.    On May 19th , 2022, the plaintiff held a meeting with Clarisse Wood, a Huma
20    Resources business partner. Plaintiff asked to review the records her employer had relie
21    upon to determine that she was a direct threat, but the defendant failed or refused to provid
22    hese records.

23    35.    Plaintiff also asked to be provided with the legal authority the defendant and it
24    'Covid-19 Policy" were relying upon to override her rights under the ADA. The plaintiff tol

25    he HR business partner that she valued her job and was as capable and qualified a
      before. She stated that she only wanted to do her job without this discrimination and
26
      harassment regarding my personal and private medical choices and health information. Th
27
      plaintiff asked the HR business partner for help to stop the discrimination and harassment.
.28


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  1    36.       On said meeting, the plaintiff told the HR business partner that because of the threat

  2    and harassing emails, she had been experiencing extreme stress resulting in migrain
       headaches, gastrointestinal distress, and loss of sleep and appetite, especially since th
  3
       letter threatening her termination.

       37.       That same day, in response to the defendant's requests that the plaintiff comply witr
       the testing requirement, the plaintiff sent another notice claiming her right not to take non
  6
       ·ob-related medical inquiries or tests.
  7
       38.       The plaintiff asserted that she was not waiving her rights under the ADA, and that sh
  8
        as fit for work. She also reaffirmed that the defendant was regarding her as having
  9
        isability.
10
       39.       On May 20 th , 2022, the "Accommodations Team" sent the plaintiff an email claimin
11
       hat the only ADA accommodation available to her was to ask for a medical accommodatio
12
       and was given a medical questionnaire to be filled out by her doctor.
13
        0.       On May 31 8 \ 2022, the plaintiff had a meeting with company's ADA complianc
14
       agents Dan Hewitt, Head of Employee Relations and Amy Larocque, Employee Relation
15
        ia video-conference. She explained that she was claiming her rights under the ADA and
16
       made them aware that working from home was never her choice, rather it was isolatio
17
       imposed by the company.

        1.       The plaintiff received a warning from Amy Larocque because she had not submitted
19

20
        2.       On June 13th , 2022, the plaintiff had a meeting with several HR representatives and
21
       her manager Sarah Guadagno to discuss her taking a leave of absence for medica
22     reasons.
23
        3.       On June 15th , 2022, while out of the office on leave, the plaintiff received an emai
24     rom Clarisse Wood (HR) who clarified that the plaintiff was not only being required to "test"
       but also required to get a "COVID vaccine" or her employment would be terminated fo
26     cause.

27      4.       On August 22 nd , 2022, the plaintiff returned to work from medical leave. Prior t
2 tl   return,    she   received   an   updated,   unsigned   communication     from   the   defendant'
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 1   "Accommodations Team" with updated termination dates if she did not comply with th
     company's COVID testing and vaccination mandates. The plaintiff was told that she had t

 3
     attest to taking two Covid-19 antigen tests weekly up to the given deadline to become "full
      accinated" through an online "Smartsheet" in order to reactivate her badge so she could
 4
     enter the office building.
 5

      5.     On August 30 th , 2022, the plaintiff confirmed that her badge was still deactivated.
 6

 7    6.    All written communication attached as Exhibit A.
 8
           COUNT I -- COMPLAINT FOR DISCRIMINATION IN VIOLATION OF THE ADA-AA
 9
      7.     Plaintiff re-alleges each of the pertinent statements from paragraphs 1 to 46 and
10
     hose in her affidavit, and incorporates each herein and further alleges that this is a case o
11
     irst impressions.
12
      8.    The defendant is a covered entity as defined under42 U.S.C. §12111(5) of the ADA.
13

14    9.     Disability cases typically involve plaintiffs who have assumed the burden of proo

15   under the "actual" or "diagnosed" prong of the ADA; whereas, the plaintiff is proceedin
     under the "regarded as" and the "record of" prongs of the ADA where the burden of proof i
16
     upon the defendant to prove that it qualified for an exemption or exception to its legal dutie
17
     o comply with the ADA. These are further expressed in this complaint.
18

19   50.    This is also a case of first impression because, regarding the defendant's "Covid-1
     Policy", the plaintiff has exercised her rights to medical privacy and informed consent t
20
     refuse medical treatments. These rights are not limited merely to the "doctor-patient'
21
     relationship, but are squarely rooted in the ADA under 29 CFR Parts 1630.9(d), 1630.12(b),
22
     1630.13(b) and Parts 1630.14(c) and (d) for the reason that these rights are intan ibl
23

24   and not originated or granted by any statute. These rights existed long before any laws wer
25   adopted by modern society and in fact, have been exercised in the formation of moder
26   society.
27
     51.    This is also a case of first impressions because the plaintiff was the first one to us
     he ADA to protect her rights and asked the question: how did the defendant suddenl

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 1   acquire a new legal authority or legal duty to treat the plaintiff for a disease without an

 2   medical examination or diagnosis? The answer of course is that the defendant never di

 3
     acquire any such legal duty or authority.

 4   52.    This is also a case of first impressions because, while the defendant makes th
 5   noble-sounding but disingenuous claim that its "Covid-19 Policy" is intended to prevent th

 6   spread of Covid-19, they have absolutely no financial responsibility to engage in o

 7
     administer such a policy. In fact, many employers adopt such policy for the entirely ulterio
     motive of qualifying for the government's disaster relief funds.
 8

 9   53.    This case, for the first time, requires answers for the following three questions: (1
10   Does the defendant have proof of any financial responsibility (insurance, etc.) t

11
     compensate anyone for becoming infected with Covid-19 after complying with its "Covid-1
     Policy"? (2) Does the defendant have proof of any financial responsibility (insurance, etc.) t
12
     compensate anyone for suffering any adverse health consequences as a result of complyin
13
      ith its "Covid-19 Policy"? And (3) Why has the United States District Court itself adopte
14
     he same policies as the defendant and, therefore, how can the court be impartial?
15
     54.    Once again, this is a case of first impressions because, if the defendant actually ha
16
     he bona fide legal right to require the plaintiff to disclose her medical records, then th
17
      efendant would have the right to simply obtain the name and address of the plaintiff'
18
     physician and then request such records directly from her physician. It is well-establishe
19
     hat no physician would make such disclosure without the express written permission of th
20   patient (plaintiff) or without a bona fide court order. Instead, the defendant's "Covid-1
21   Policy" depends solely upon the employee to voluntarily waive her rights to medical privac
22   and disclose such records.

23
     55.    The plaintiff is regarded as having a disability by the defendant's "Covid-19 Policy",
24    hich, according to the defendant, was intended to prevent the spread of the contagiou
25    isease known as Covid-19, which has been said to cause a global pandemic sine
26    anuary, 2020.

27
     56.   Although the plaintiff is not required by law to discuss the nature of such disability, fo
28   clarity's sake she alleges that the defendant's policy rested on the assumption that ever

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 1    mployee, the plaintiff included, had or could have this disease. That is, the policy'

 2   underlying assumption was that all of its employees were simultaneously at risk and posed

 3
     risk to the health of all other employees.

 4   57.    One of the mitigation measures established by the defendant's "Covid-19 Policy" is
 5    accination mandate. On the basis of compliance with this accommodation, the defendant'
 6   policy identified three types of employees: (1) vaccinated; (2) unvaccinated but with

 7
     medical or religious exemption; and (3) unvaccinated with no exemption.

 8   58.    The defendant's "Covid-19 Policy" regarded the plaintiff as having Covid-19 or being
 9   prone to getting infected with Covid-19 because she is not vaccinated.
10
     59.    It is undisputed that the defendant openly admitted that the purpose of such polic
11
      as the prevention of the spread of Covid-19.
12
            This policy was inherently based upon the unproven presumption that the plaintiff ha
13
      uch a disability and the pure speculation that someday the plaintiff might become infecte
14
      ith such disease. The defendant also assumes that its policy was the proper treatment t
15
     mitigate its effects in the workplace.
16
     61.    The defendant's "Covid-19 Policy" imposed certain medical treatments, including bu
17
     not limited to experimental vaccines, wearing a surgical mask over the face, socia
18
      istancing, segregation, isolation, disclosing medical records and medical history, an
19
      ubmitting to medical examinations. These are each well-known medical treatments tha
20   invoke the plaintiff's medical privacy rights and as explained previously, which are square!
21   rooted in the ADA.
22
     62.    The defendant's "Covid-19 Policy" classified the plaintiff in such a way that he
23
      mployment opportunities were adversely affected and limited because the defendant woul
24   not permit the plaintiff to do her job without first submitting to defendant's accommodation
25   ("mitigation measures").
26
            The defendant required non-job-related medical examinations of the plaintiff tha
27
      ere not consistent with any conceivable business necessity.



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 1   64.    The defendant made disability-related inquiries of the plaintiff that were not consisten
 2    ith business necessity and not permitted under 29 CFR Part 1630.13(b).

 3
     65.    The vaccines demanded by the defendant were experimental because the policy wa
 4   adopted during the Emergency Use Authorization (EUA) period and because none of th
 5    xperimental vaccines had been approved by the Food and Drug Administration. Some ma
 6   have been "authorized", but only one was approved and is not commercially available, eve

 7
     if the plaintiff chose to take it.

 8          Simply, there are no proper and safe vaccines. In addition, if a vaccine prevent
 9   infection and transmission of a disease as defined by modern scientific standards, wh
10    ould anyone need to take a vaccine so that someone else could avoid becoming ill?

11
      accine protects the person taking it, and there is absolutely no scientific standard wher
     any vaccine is taken to protect anyone else but the person taking it.
12

13          And if there was such a vaccine, why did employees who were concerned simpl
14   ake the vaccine themselves? Since when does one take a medical treatment so tha

15    omeone else will not become ill? This is not even sane.

16           In fact, this practice, regarding oneself and others as having an illness without an
17    iagnosis, and then seeking to treat everyone with the same medical intervention withou
18    ny diagnosis, is defined as a mental illness in the Fifth Edition of the Dia nostic an

19   Statistical Manual for Mental Health. The defendant's "Covid-19 Policy" demonstrates tha
     hose seeking to impose it upon employees and the plaintiff are suffering from an un
20
      iagnosed mental illness and have demonstrated that each of them are a danger t
21
     hemselves and others and must be ordered to submit to an involuntary mental evaluation.
22
      he plaintiff's allegations easily satisfy the elements of discrimination by showing that sh
23
     alls within a protected group, that she was qualified for the position she held, that she wa
24    ubject to an adverse employment action and that the adverse employment action wa
25   aken under the circumstances giving rise to the facts which constitute unlawfu
26    iscrimination.

27
             The defendant's "Covid-19 Policy" fails to include any provisions for: (1) employee
28    ith disabilities; and (2) protecting the medical privacy of employees, and specifically th

                                                                                        Page 11 of 2
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 1   plaintiff's.
 2
     70.      The defendant's "Covid-19 Policy" fails to include any provisions establishing that th
 ]
     plaintiff waived her rights to medical privacy, to informed consent or her rights protected
 4   under the ADA.
 5
      1.      The defendant's "Covid-19 Policy" is applied disproportionately by identifying group
 6
     of employees, such as those who are "vaccinated" and those who are "unvaccinated". I
 I
     ignores the group of employees who invoke their rights under the ADA and further identifie
 8   another group of employees who claim to be exempted from such policy for medical o
 9   religious reasons.
LO
     72.      The plaintiff is within the group of employees who has invoked rights under the AD
11
     and is treated differently by the defendant than the other groups, such as those wh
12    efendant       considers   "vaccinated"   and   then   "unvaccinated"   and   those    requestin
1]   "exemptions for medical or religious reasons".
14
     73.      While it is not necessary to allege that the defendant regarded the plaintiff as havin
15
     a disability, the defendant's "Covid-19 Policy" clearly demonstrates that the defendan
16   sought to impose its provisions upon the plaintiff based upon the pure speculation,
17    tereotype and generalization that she was infected or may in the future become infected
18     ith a deadly contagious disease (e.g. Covid-19) and that the defendant acquired the lega

19
                    legal authority to cure or treat such disability by imposing measures upon th
     plaintiff.
20

21   74.      The defendant claimed that its "Covid-19 Policy" was a requirement, but it failed t
22   act under any legal authority or legal duty to impose its policy measures on its employees.

23
     75.      The defendant's "Covid-19 Policy" was not supported by a legal duty with which th
24   plaintiff was required to comply. Actually, the plaintiff was protected under the ADA upo
25    iving notice to the defendant that she was a qualified individual who was being regarded a
26   having a disability. Simply claiming that a policy is "mandatory" or "required" does no

27   automatically make it compulsory.

28    6.      The defendant disingenuously denies regarding the plaintiff as having a disability

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 l    ven though the plaintiff had given defendant sufficient notice that she is regarded as having

 2   a disability.

 3   77.     The defendant claims that they are simply following the law or regulations or policies;
 4   however, none of the Covid-19 policies have created any new legal duty upon th
 5    efendant, nor given the defendant any new legal authority. There is no such law.

 6
             The defendant's "Covid-19 Policy" openly claims that it is intended to "prevent th
 7
      pread of Covid-19", described a deadly contagious disease, and then outrageously, acts a
 8   if everyone is infected with it and must consequently submit to the same exact medica
 9   reatments without any professional examination, diagnosis, supervision, or judicial approva
10   or oversight.

11
      9.     To this day, the defendant has not identified any authority or legal duty it has t
12   impose its non-job related policy.
13
     80.     To this day, the defendant has failed to demonstrate that they met or satisfied an
14
      xemptions or exceptions to its bona fide legal duties under the ADA to aid and encourag
15
     hose with disabilities, including the plaintiff.
16
     81.     To this day, the defendant has failed to demonstrate that they had any financia
17
     responsibility to either protect anyone, including the plaintiff, from a purportedly deadl
18
     contagious disease or that it had any financial responsibility to anyone suffering advers
19
     health consequences from participating in its "Covid-19 Policy" measures, namely, takin
20    xperimental vaccines during an emergency use authorization (EUA) period.
21
     82.     The defendant made false claims that its "Covid-19 Policy" was voluntary and ye
22
     imposed pecuniary measures and other adverse employment actions as a direct an
23
     proximate cause of the plaintiff's good faith refusal to participate or accept sue
24   provisions(i.e. the "Covid-19 Policy").

     83.     The defendant's adverse employment actions included, but were not limited to,
26
     segregating and isolating its employees and asking them to work from home, and thu
     preventing her from doing her normal employment duties; compelling her to submit t
28    arious medical interventions such as wearing masks over her face and getting "PCR" tests;

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 l   requiring her to get vaccinated as a new condition of employment, and threatening her wit

 2   erminating her employment. Actually, the defendant admitted that non-compliance with th
      accination mandate would result in termination of the plaintiff's employment.
 3

 4   84.       Furthermore, the defendant's policy violates 29 CFR §1630.14(c) of the ADA becaus
 5   it involves sharing non-job-related medical classifications (e.g. "vaccination status", vita

 6   statistics and "PCR" 2 medical examination history) and without any regard to confidentiality

 7
      he policy includes no provision to preserve the medical privacy rights of any employee
     including the plaintiff's.
 8

 9   85.       The plaintiff is not required to request exemptions from the defendant's "Covid-1

10   Policy" for religious or medical reasons and in fact, is not required to request an

11
     accommodations or reasonable modifications regarding such policy because none of it
     provisions are related to her essential job function.
12

l3   86.       Likewise, the defendant has failed to give conspicuous notice as to the manner i

14    hich such policy is related in any way to the plaintiff's essential job function.

15
     87.       Furthermore, the defendant's policy, which itself demonstrates that the defendan
16   certainly regards the plaintiff as having Covid-19, a disability that is covered by the ADA,
17   illegally fails to include any provision for those employees with disabilities.
18
     88.       Defendant fails to provide any advice or instruction on how to conduct an
19
     individualized assessment3 for those employees claiming rights under the ADA, and fails t
20   identify any ADA representative of the defendant. In fact, the defendant's "Covid-19 Policy'
21   completely ignores its legal duties to aid and encourage those with disabilities under th
22    DA

23
     89.       Ironically, the defendant's "Covid-19 Policy" also impairs the plaintiff's ability t
24   perform her essential job functions as the policy itself creates a physical impairment tha
25
           Polymerase Chain Reaction
26         EEOC Technical Manual 2.2 (c) "... the Supreme Court has stated and the Congress has reiterated,
           "society's myths and fears about disability and disease are as handicapping as are the physical limitation
27         that flow from actual impairments." The legislative history of the ADA indicates that Congress intended thi
           part of the definition to protect people from a range of discriminatory actions based on "myths, fears an
28         stereotypes" about disability, which occur even when a person does not have a substantially limitin
           impairment."

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   1    substantially limits the plaintiff's ability to engage in one or more major life activities, one o

   2     hich includes "working". This is not the sole impairment the plaintiff is alleging.

   3
               The fact is that the defendant made a record of the im airment its olic is intended
   4    o treat, by documenting plaintiff's "vaccination status" even though she refused to disclos
        her medical records, and via its communication, attitude and treatment of the plaintiff.

   6
        91.    The defendant refused to allow the plaintiff to continue working without firs
   7
        submitting to its discriminatory "Covid-19 Policy".
   8
               The fact that the defendant applied the policy to everyone equally fails to recogniz
   9
        hat the plaintiff, after giving notice of being regarded as having a disability and objecting t
10
         ubmit to the defendant's "accommodations", was within a protected class and engaged in
11
        protected activity and therefore, not subject to the same "Covid-19 Policy" as everyone els
12       ho had not invoked their rights under the ADA. This is the same as in the example of th
13       efendant requiring a wheelchair-bound employee to use the stairs or face loss of income,
14      itle or employment termination. Everyone was required to use the stairs and the policy i

15      applied equally to everyone, is the erroneous conclusion here.

16      93.    The defendant never provided notice of any kind to the plaintiff, advising the plainti
17      as to the manner in which such accommodations in its "Covid-19 Policy" were related to he
18       ssential job function.

19
        94.    In fact, none of the accommodations were related to the plaintiff's essential jo
20      unction because she was able to continue performing her essential employment dutie
21       ithout participating in the defendant's "Covid-19 Policy".
22
        95.    Regarding each incident of the plaintiff's good faith refusal to accept defendant'
23
        'Covid-19 Policy" measures, and the defendant's adverse response, the plaintiff was in
24      protected class and engaged a protected activity, and not required to participate in th
2 ::i   defendant's policy under 29 CFR Part 1630.9(d), unless the defendant established a
26       xemption or exception to its legal duty to comply with the ADA.

27
        96.    The plaintiff was deceived into requesting a "religious exemption" which was not
2B      meaningful accommodation. In fact, it was intended solely to give the appearance o

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 1   airness because it was never seriously considered and the defendant never disclosed an
 2   qualifying criteria for such "exemption" nor the legal duty from which the plaintiff was being

 3
     "exempted" as the defendant's policy did not impose any new legal duties upon the plainti ·
     rom which she could have been exempted.
 4

 5   97.     Instead, the defendant failed to conduct any individualized assessment establishin
 6   hat the plaintiff's good faith refusal to participate in its "Covid-19 Policy" was a direct threat.

 7
     98.     The defendant simply punished the plaintiff for her refusal on the pure speculatio
 8   hat the plaintiff had a disability known as Covid-19, or on the pure speculation that someda
 9   she might have such a disease, and on the false premise that the defendant had the lega
10    uty and authority to protect her and everyone else from contracting such a diseas

11
     (disability).

12   99.     The defendant proceeded to segregate and isolate the plaintiff, thereby causall
13   resulting in the plaintiff's loss of opportunities of career advancement and team-buildin
14   opportunities. The defendant also caused the plaintiff physical and emotional distress.

15
     100.    Claiming that the plaintiff had a deadly contagious disease, or that she migh
16    omeday become infected with such a disease, is not a defense to violating the ADA,
17   specifically, 29 CFR Parts 1630.9(d), 1630.12(b), 1630.13(b) and Parts 1630.14(c) and (d).
18
     101.    The defendant failed to identify or describe any set of facts establishing that th
19
     plaintiff's good faith refusal to participate in the defendant's "Covid-19 Policy" would hav
20    reated any undue financial hardship.
21
     102.    The defendant failed to identify or describe any set of facts establishing that th
22
     plaintiff's good faith refusal to participate in the defendant's "Covid-19 Policy" would hav
23
     undamentally altered its normal operations. In fact, the defendant's policy itself already did
24   in fact fundamentally alter its normal operations.
25
     103.    The defendant failed to identify or describe any set of facts establishing that th
26
      isability its policy was intended to prevent was both transitory and minor.
27
     104.    The defendant failed to establish any set of facts that proved that the Covid-1


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  l     isease is transitory because it is said to have created a world-wide pandemic that began a
  2    he end of the year 2019 and continues to this day, including the "variations" (strains) an

  3
       he so-called "long Covid" and "short Covid", all based upon the claim that these are an
       have been since the end of 2019, deadly contagious diseases.
  4

  5    105,     The defendant cannot now claim that such disability is "transitory", especially sine
  6    hey are not acting upon any medical diagnosis, court order obtained by the Department o

  7
       Health, or any individualized assessment establishing that the plaintiff individually is a direc
       hreat.
  8

  9    106,     The defendant cannot rely upon news or public announcements to determine that th
10     plaintiff individually has any type of disability since that would require a bona fide medica

11
        xamination and diagnosis by a physician.

12     107.     The defendant's "Covid-19 Policy" was not uniformly or universally applied to th
l3     plaintiff once she gave notice that she was a qualified individual with a disability and that sh
14      as regarded as having a disability, and once the defendant began making a record of such

15
        isability by mis-classifying the plaintiff as having an impairment, the treatment or cure fo
        hich was the defendant's "Covid-19 Policy".
16

17     108.     The defendant mis-classified the plaintiff as having a deadly contagious diseas
18     (impairment) by imposing its "Covid-19 Policy" upon her as a new condition of employment

19     and made a record of such disability by imposing its policy upon the plaintiff without an
        iagnosis, but based upon pure speculation, generalization and stereotype.
20

21     109.     It is the defendant's policy that demonstrated that the defendant regarded the plainti
22     as disabled because of the plaintiff's unvaccinated status.

23
       110.     The plaintiff is entitled to the protections established in the ADA under the second
?. 4   and third prongs ("regarded as" "record of').
25
       111.     The defendant's "Covid-19 Policy" assumes that unvaccinated employees have
26
       contagious disease that affects their respiratory system (a major bodily function) or else, tha
27
       because they remain unvaccinated, they have a suppressed or weak immune system tha
28     makes them vulnerable to Covid-19 and a threat to other employees.

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 1   112.   The defendant conducts no individualized assessment to determine the existence o
 2   he disability or the "dangerousness" of the presence of the unvaccinated employees in th

 3
      orkplace.

 4   113.   Ironically, it is the defendant's "Covid-19 Policy" itself that creates a physica
     impairment that substantially limits the plaintiff's ability to engage in one or more major lif
 6   activities, including working and interacting with others.

 7
     114.   The defendant made a record of such disability by classifying the plaintiff a
 8   "unvaccinated". The defendant, by its own policies, attitude toward the plaintiff and means o
 9    ommunication, record-keeping and general treatment of the plaintiff, created a set of fact
10   hat satisfy the criteria under the ADA known as the "record of' prong.

11
     115.   The plaintiff was never required to discuss the nature of such disability and becaus
12   such disability was not job related and the plaintiff was not requesting reasonabl
13   modifications, again, she was therefore not required to discuss the nature of such disabilit
14   no more than she was required to participate in the defendant's "Covid-19 Policy".

15
     116.   Not only the defendant's "Covid-19 Policy" is not rational, and not implemented wit
16   any legal authority or duty whatsoever-there is no rational basis to act as if every singl
17   member of a community (e.g., all employees of the defendant) suddenly have the sam
18    xact illness (which constitutes a disability) and that without any individualized examination,

19    veryone would benefit from the same exact medical treatment.

20   117.   It is irrational that non-skilled and unlicensed individuals should impose sue
21   interventions upon everyone at the same time because of some commentary on a websit
22   (e.g., CDC, EEOC, etc.) that states, that type of policy will prevent a disease, while sue

23    ebsites simultaneously disclaims such commentary as valid legal or medical advice.

24   118.   The defendant's policy was based purely upon the speculation, generalization an
25   stereotype that everyone was infected with Covid-19 and that the defendant suddenly ha
26   he legal duty and authority to protect every employee, in spite of the fact that it had n

27   inancial responsibility, either to protect anyone from any deadly contagious disease, or t
     compensate anyone suffering any adverse health consequences from participating in it
28


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 1   "Covid-19 Policy" or taking experimental vaccines or other treatments.

 2
     119.     The plaintiff identified herself as being within a protected group and engaged in
 3
     protected activity upon giving the defendant notice that she was regarded as having
 4    isability and that she was a qualified individual with a disability and then
 5    efendant's accommodations based upon her good faith belief.
 6
     120.     The plaintiff also alleged that she was qualified for the job and both willing and able t
 7
     continue performing her employment duties and that the defendant's "Covid-19 Policy" wa
 8   not related in any way to plaintiff's essential job functions.
 9
     121.     And that the defendant failed to give conspicuous notice as to the manner in whic
10
      uch policies were related to the plaintiff's essential job functions.
11
     122.     Beginning from the moment plaintiff gave such notice to the defendant, the plainti
12
      uffered adverse employment actions when the defendant continued attempting to impos
13
     its "Covid-19 Policy" upon the plaintiff, ignored and denied her claim of disability an
14
     continued reprimanding her, on a daily basis, for refusing its accommodations as alleged i
15
     he plaintiff's affidavit, and continuously threatening to terminate her employment.
16
     123.     The plaintiff demands a jury trial.
17

18   124.     WHEREFORE plaintiff demands injunctive relief, including but not limited to: (i)

19
     ·udgment from this Court that defendant's actions were unlawful; (ii) compensatory damage
     in whatever amount plaintiff is found to be entitled; (iii) an equal amount as liquidate
20
      amages, other monetary damages; (iv) an award of costs and reasonable court fees; an
21
     (v) punitive damages to the extent available; (vi) pre-judgment and post-judgment interest
22
      nd (vii) a jury trial on all issues so triable, and for other relief deemed appropriate by thi
23
      ourt.
24
     COUNT II. COMPLAINT FOR RETALIATION IN VIOLATION OF THE AMERICANS WITH
25
                                DISABILITIES ACT
26   125.     The plaintiff sues the defendant for retaliation in violation of the ADA and the ADA
27

28


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 1   126.   The plaintiff re-alleges the foregoing statements of fact and allegations from he

 2   complaint for discrimination in Count I along with her affidavit, and further alleges th

 3
     allowing.

 4                                            ALLEGATIONS
 5
     127.   Plaintiff re-alleges each of the pertinent statements from paragraphs 1 to 46 and
 6   hose in her affidavit, and incorporates each herein and further alleges that this is a case o
 7   irst impressions.
 8
     128.   Upon giving defendant notice that she was regarded as having a disability and tha
 9
     she was a qualified individual with a disability, the defendant began retaliating against th
10   plaintiff by imposing punitive measures and adverse employment actions, upon her for he
LL    ood faith refusal to participate in the defendant's offered accommodations.
12
     129.   Title 29 of Part 1630.12(b) prohibits employers from retaliating against employees,
13
     namely the plaintiff for exercising and enjoying her rights under the ADA, specifically, "[i]t i
14   unlawful to coerce, intimidate, threaten, harass or interfere with any individual in th
15   exercise or enjoyment of, or because that individual aided or encouraged any othe
16   individual in the exercise of, any right granted or protected by this part."

17
     130.   The defendant retaliated by seeking to impose its "Covid-19 Policy" upon the plainti
18   in violation of its bona fide legal duty of care under the ADA.
19
     131.   The plaintiff exercised her right to refuse the defendant's "Covid-19 Policy" measure
20
     based upon a good faith belief that the policy did not apply to her because of the foregoin
21
     alleged failure of the defendant to establish any exemption or exception to its legal duty t
22   comply with the ADA.
23
     132.   Exercising this right was a protected activity and the defendant's "Covid-19 Policy'
24
      as not equally or universally applied to the plaintiff because she had given notice of
25
      isability and was therefore in a protected class and engaged in a protected activity.
26
     133.   The plaintiff exercised her right to refuse the defendant's policy measures base
27
     upon a good faith belief that the policy did not apply to her because the policy was no
28


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 1   related in any way to her essential job function.
 2
     134.   The plaintiff exercised her right to refuse the defendant's policy measures base
 3
     upon a good faith belief that the policy did not apply to her because the defendant failed t
 4    ive plaintiff conspicuous notice as the manner in which its policy was related in any way t
 5   her essential job function.
 6
     135.   The defendant imposed pecuniary measures, adverse employment actions, upo
 7
     plaintiff which included the loss or threatened loss of pay, isolation, segregation from he
 8   employment.
 9
     136.   Each time the plaintiff exercised her right to refuse the defendant's accommodations
10
     she did so in good faith, and the defendant subsequently and either immediately or in
11
     manner that was causally related to the exercise of such right, imposed advers
12    mployment actions upon the plaintiff, including but not limited to segregating and isolatin
13   its employees and asking them to work from home, and thus preventing her from doing he
14    mployment duties in her accustomed setting; compelling her to submit to various medica

15   interventions such as wearing masks over her face and getting "PCR" tests; requiring her t
      et vaccinated as a new condition of employment; excluding her from career advancemen
16
      pportunities and team-building activities, and threatening to terminate her employment, bu
17
     not for any necessary reasons other than as an adverse employment action intended t
18
     punish her for exercising her rights.
19
     137.   The defendant imposed these measures in a direct causally related manner upon th
20
     plaintiff each time she exercised her rights to refuse to participate in the defendant's "Covid
21
     19 Policy".
22

23   138.   The defendant's "Covid-19 Policy", as alleged herein and described in more detail i
     he plaintiff's affidavit, describes a materially adverse change in the terms and conditions o
24
      mployment, comparing the way it used to be before July of 2021 to the way it has becom
25
     by the defendant's implementation of its "Covid-19 Policy".
26

27   139.   These changes did not simply create an inconvenience for the plaintiff, the
      ubstantially altered the manner in which she was able to do her job and interact with co
28


                                                                                        Page 21 of 2/;'.
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 1    orkers and substantially impaired her ability to perform her essential employment duties,

 2   and was the direct and proximate cause behind the plaintiff's loss of face-to face interaction

 3
      ith superiors, colleagues, direct reports and team-building opportunities.

 4   140.      As a direct and proximate cause of plaintiff exercising her rights under the ADA t
     refuse in good faith the defendant's "Covid-19 Policy" measures, the defendant prevente
 6   he plaintiff from working on the premises and isolated her from other employees.

 7
     141.      Each of the foregoing adverse employment actions resulted from every effort th
 8    efendant undertook to coerce the plaintiff into submitting to its "Covid-19 Policy'
 9   accommodations, and each adverse employment action described herein was causall
10   related to plaintiff's good faith refusal to comply with the defendant's policy.

11
     142.      Each adverse employment action took place within moments of, and in direc
12   response to, plaintiff's expression of her good faith refusal to comply with the defendant'
13   policy.
14
     143.      While the defendant ignorantly and illegally ignored its actual legal duties, th
15
      efendant made a record of such disability by mis-classifying the plaintiff as having a
16   impairment that substantially limited one or more major life activities, including but no
17   limited to thinking, working, eating, breathing, walking, communicating and others expresse
18   in the ADA itself, but not limited thereto.

19
     144.      The defendant made such a record by adding the plaintiff's name to a list o
20    mployees who were "unvaccinated" and then keeping an actual record of the same, and b
21   adopting its written "Covid-19 Policy" and by its attitude toward the plaintiff and the manne
22   in which the defendant interacted and communicated with the plaintiff.

23
     145.      It is not relevant whether or not the defendant denies regarding the plaintiff as having
24   a disability, the fact is that she was regarded as having a disability, at least by th
25    overnment and as demonstrated by defendant's policies, irrespective of the defendant'
26   bad faith and contradictory denial of the same.

27
     146.      These facts demonstrate the defendant's adverse employment actions derived fro
28   its "Covid-19 Policy" and its failure to comply with the ADA in fact constituted a material!

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 1   adverse change in the terms and conditions of employment.
 2
     147.     Before the policy, the plaintiff and other employees were protected by disability law,
 3
     medical privacy rights and the right to informed consent (which as explained previously ar
 4   rooted in and protected by the ADA), the right to be heard, and the right to have a complain
 5   or harassment heard impartially by the defendant, and after the defendant's adoption of it
 6   'Covid-19 Policy", all of those rights were ignored and violated in a direct and causa

 7
     response to the plaintiff's exercise of her right to refuse.

 8   148.     These changes were not just "disruptive" or inconvenient; they were not merel
 9   limited to include a change in plaintiff's employment duties. These changes included (actua
10   or likely) termination of employment, isolation, and loss of benefits and were each causall

11
     related to each time the plaintiff chose to exercise and enjoy her rights under the ADA.

12   149.     Ultimately, the defendant did threaten to terminate the plaintiff's employment as
13    irect and proximate cause of her refusal to participate in the defendant's "Covid-19 Policy".
14
     150.     The plaintiff was engaged in the protected activity of refusing in good faith t
15
     participate in its "Covid-19 Policy". The defendant was aware of plaintiff refusal from the ve
16   moment she expressed that she was regarded as having a disability and began refusing t
17   participate in its policy.
18
     151.     Each time the defendant approached the plaintiff with a demand or request to submi
19
     o the terms of its "Covid-19 Policy", the defendant informed the plaintiff that she would b
20   penalized, such as the plaintiff has previously alleged.
21
     152.     The plaintiff demands a jury trial.
22

23
     153.     WHEREFORE plaintiff demands injunctive relief, including but not limited to: (i)
     ·udgment from this Court that defendant's actions were unlawful; (ii) compensatory damage
24
     in whatever amount plaintiff is found to be entitled; (iii) an equal amount as liquidate
25
      amages, other monetary damages; (iv) an award of costs and reasonable court fees; an
26
     (v) punitive damages to the extent available; (vi) pre-judgment and post-judgment interest
27
     and (vii) a jury trial on all issues so triable, and for other relief deemed appropriate by thi
28    ourt.

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 1   DATED this rJ:) day of September, 2022.

 2
                                                                        Susanna Librandi
 3
                                                              Plaintiff in propria person
 4

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